Case 19-12239-RG Doc 30-1 Filed 05/14/19 Entered 05/14/19 14:00:53                       Desc
                Certification in Support of Motion Page 1 of 3


 LAW OFFICES OF STEVEN A. SERNA LLC
 5300 Bergenline Avenue, Suite 300
 West New York, New Jersey 07093
 Telephone Number (201) 392-0303
 Telecopier Number (201) 392-0323
 By: Steven A. Serna, Esq.
 Attorney for Debtor
 Email: BK@Sernaesq.com

                                                    UNITED STATES BANKRUPTCY COURT
 In re:                                             DISTRICT OF NEW JERSEY
                                                    NEWARK VICINAGE
 ROSA M. LOPEZ,
                                                    Chapter 7

                         Debtor.                    Case No.: 19-12239 RG

                                                    CERTIFICATION IN SUPPORT OF
                                                    MOTION TO CONVERT CASE TO
                                                    CHAPTER 13

                                                    HEARING DATE: 6/10/2019 at 10:00A.M.



          I, Rosa M. Lopez, hereby certify as follows:

          1.     I am the Debtor in the above-captioned case and I am fully familiar with

 this matter. I make this Certification in Support of the Motion to Convert my Chapter 7

 case to a Chapter 13 case.
          2.     I filed for Chapter 7 relief on February 1, 2019 primarily because I lost my

 job of the past 12 years with BioReference Laboratories in August 2018. My former

 employer paid me a 22-week severance package which ended on January 31, 2019. I

 knew what I was not going to be able to pay my ongoing debts.

          3.     I own two residential 2-family properties in New Jersey which were

 properly disclosed in my bankruptcy petition and schedules. My primary home is located

 at 9 Joseph Street in Little Ferry (the “Joseph Property”) and my second home is located

 at 330 President Street in Saddle Brook (the “President Property”). I own 50% of the
Case 19-12239-RG Doc 30-1 Filed 05/14/19 Entered 05/14/19 14:00:53                                                        Desc
                Certification in Support of Motion Page 2 of 3
                                                                                                                  Page |2



 Joseph Property with my brother, Jorge Tovar, and I own 50% of the President Property

 with my husband, Santiago Lopez.

           4.         Pursuant to the Comparative Market Analysis reports prepared by Ms.

 Monserrat Moran of Century 21 Gentry Realtors, the Joseph Property and the President

 Property returned approximate fair market values of $280,000.00 and $302,500.00,

 respectively. My bankruptcy attorney, Steven A. Serna, Esq., advised me that per these

 values a potential sale of the properties would generate little to no equity to my creditors.

           5.         I attended the 341 Meeting of Creditors on March 1, 2019 where the

 Chapter 7 Trustee, Jay L. Lubetkin, Esq., reviewed my petition and schedules and stated

 he had no further inquiry and that his examination would be closed out. To my surprise

 several weeks later I received a call from a real estate management company stating that

 the Trustee wished to sell the President Property.

           6.         The sale of the President Property would result in an undue hardship for

 my entire family. I separated from my husband in 2011 and part of our verbal separation

 agreement was for our two daughters and me to move to the Joseph Property while he

 maintained the mortgage payments there and that I would maintain the payments for the

 President Property.             Currently the President Property is occupied by Mr. Stephen

 Cevallos, my paralyzed nephew (who also filed for Chapter 7 relief in 2010) in the first

 floor apartment, and Ms. Zenia Navas, my daughter in the second floor apartment. The

 President Property has been renovated to provide for the handicap access to my nephew

 which was partially funded by the Township of Saddle Brook. My family occupants

 contribute with monthly rents totaling $1,800.00 which assist me in making the necessary

 mortgage payments and carrying costs.

           7.         I continue to reside in the Joseph Property with my daughters, one of

 which is also disabled with brain damage and bipolar disorder in the first floor apartment.
 I rent out the second floor apartment to a tenant who pays a monthly rent of $1,150.00

 which assists my husband with making the mortgage payments and carrying costs.
 \\SERVER01\OFFICE\SERNA LAW\BANKRUPTCY\LOPEZ, ROSA M\CERTIFICATION IN SUPPORT OF MOTION TO CONVERT CASE TO CHAPTER 13.DOCX
Case 19-12239-RG Doc 30-1 Filed 05/14/19 Entered 05/14/19 14:00:53                                                        Desc
                Certification in Support of Motion Page 3 of 3
                                                                                                                  Page |3



           8.         If the Chapter 7 Trustee sells the President Property then it would force

 my family in the President Property to move into my home where I do not have handicap

 access for my nephew or enough room for his two large Pitbull dogs and it would

 frustrate my separation agreement with my husband.

           9.         I also believe the Trustee’s real estate valuation of $425,000.00 is

 excessive as the President Property is not in very good condition due to a lot of

 wheelchair caused damages, it has not been updated since we bought it and the market

 would likely only result in a sales price of $385,000.00.

           10.        I therefore believe that is more beneficial for me to pay any excess equity

 to be properly determined by a qualified appraisal report which I will obtain promptly

 into an affordable Chapter 13 case from a period between 3 to 5 years to pay my creditors

 over time then to force the sale of my home to displace my family only to pay the

 creditors sooner rather than later.

           WHEREFORE, it is respectfully requested that this Court allow my Motion to

 Convert Case to Chapter 13.

           I hereby certify that the foregoing statements made by me are true. I am aware

 that if any of the foregoing statements made by me are willfully false, I am subject to

 punishment.

 Dated: May 14, 2019                                                      By: /s/ Rosa M. Lopez
                                                                          Rosa M. Lopez
                                                                          Debtor




 \\SERVER01\OFFICE\SERNA LAW\BANKRUPTCY\LOPEZ, ROSA M\CERTIFICATION IN SUPPORT OF MOTION TO CONVERT CASE TO CHAPTER 13.DOCX
